          Case 8:20-cv-02453-VMC-AAS Document 3 Filed 10/21/20 Page 1 of 4 PageID 21

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Middle District
                                                    __________ District of
                                                                        of Florida
                                                                           __________

                                                                      )
                                                                      )
                                                                      )
                       MIKE BRINKMAN                                  )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                             Civil Action No. 8:20-cv-02453-T-33AAS
                                                                      )
                                                                      )
      EQUIFAX INFORMATION SERVICES LLC,                               )
    and ACCOUNT RESOLUTION SERVICES, LLC                              )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Equifax Information Services LLC
                                           c/o Corporation Service Company
                                           1201 Hays Street
                                           Tallahassee, Florida 32301




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Octavio Gomez, Esquire
                                           Morgan & Morgan, Tampa, P.A.
                                           One Tampa City Center
                                           201 N. Franklin Street, Suite 700
                                           Tampa, Florida 33602
                                           Tele: (813) 223-5505
                                           TGomez@ForThePeople.com
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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           Case 8:20-cv-02453-VMC-AAS Document 3 Filed 10/21/20 Page 2 of 4 PageID 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
          Case 8:20-cv-02453-VMC-AAS Document 3 Filed 10/21/20 Page 3 of 4 PageID 23

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Middle District
                                                    __________ District of
                                                                        of Florida
                                                                           __________

                                                                      )
                                                                      )
                                                                      )
                       MIKE BRINKMAN                                  )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                             Civil Action No. 8:20-cv-02453-T-33AAS
                                                                      )
                                                                      )
      EQUIFAX INFORMATION SERVICES LLC,                               )
    and ACCOUNT RESOLUTION SERVICES, LLC                              )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Account Resolution Services, LLC
                                           1643 Harrison Pkwy, Suite 100, Bldg H
                                           Sunrise, FL 33323-2857




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
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           Case 8:20-cv-02453-VMC-AAS Document 3 Filed 10/21/20 Page 4 of 4 PageID 24

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

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                                                                 , a person of suitable age and discretion who resides there,
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                                                                                on (date)                             ; or

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           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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